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                    8                          UNITED STATES DISTRICT COURT
                    9           CENTRAL DISTRICT OF CALIFORNIA, EASTERN DIVISION
                 10
                 11 UNITED STATES OF AMERICA                     Case No. 2:18-cv-05808-JWH-JEMx
                    FOR THE USE AND BENEFIT OF
                 12 DESERT MECHANICAL, INC.,                     ORDER DISMISSING ACTION
                                                                 WITH PREJUDICE
                 13               Plaintiff,
                 14        v.
                                                                 Judge: John W. Holcomb, United
                 15 TURNER CONSTRUCTION                          States District Judge
                    COMPANY; LIBERTY MUTUAL                      Courtroom:       2
                 16 INSURANCE COMPANY;
                    TRAVELERS CASUALTY AND
                 17 SURETY COMPANY OF AMERICA;
                    FIDELITY AND DEPOSIT
                 18 COMPANY OF MARYLAND;
                    ZURICH AMERICAN INSURANCE
                 19 COMPANY; FEDERAL INSURANCE
                    COMPANY; THE CONTINENTAL
                 20 INSURANCE COMPANY; and XL
                    SPECIALTY INSURANCE
                 21 COMPANY,
                 22               Defendants.
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4.6-7
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                                                   ORDER FOR DISMISSAL OF ACTION
18-5808-67-Dismiss.Order
                                               Case 2:18-cv-05808-JWH-JEM Document 68 Filed 10/28/21 Page 2 of 2 Page ID #:155




                                                      1        Pursuant to the stipulation of the Parties filed concurrently herewith, pursuant
                                                      2 to Rule 41(a)(2) of the Federal Rules of Civil Procedure, the action is hereby
                                                      3 dismissed with prejudice. Each party to bear its own fees and costs.
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                                                      5 DATED: October 28, 2021
                                                                                          John W. Holcomb
                                                      6
                                                                                          United States District Judge
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18-5808-67-Dismiss.Order
